UNITED 81

Vv.

BRAD BRO

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TATES DISTRICT COURT
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: (Judge

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December, 2018, |
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BRAD B

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Count 1
U.S.C. § 371
with Intent to Deliver and Delivery of
Substance Analogues)

> first day of December, 2012 , the exact

nuing thereafter until on or about the

ithin the Middle District of Pennsylvania,

OWN OSTRANDER,

id unlawfully combine, conspire,
with Corey Dobbins, Chad McLinko,
oth known and unknown to commit
ited States, namely; to knowingly,

nanufacture, distribute, and possess with

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amount of a
substance ai

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21, United §

The m
conspirators
included, an

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other valuable consideration

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» distribute a mix

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States Code, Secti

MANNER ANI

Ipha-pyrolidinope

tu

re or substance containing a detectable
tiophenone (a-pvp), a controlled

in 21 U.S.C. § 802(32), with intent for
din 21 U.S.C. § 818, in violation of Title

. 841(a)(1) and (b)(1)(C).

MEANS OF THE CONSPIRACY

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y which the defendants and their co-

ish the objectives of the conspiracy

lowing:
of his co-conspirators acquired and

-e analogue with intent to distribute the

ox his co-conspirators arranged for the
e analogue.
ov his co-conspirators accepted money or

exchange for the controlled substance

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Date: 7 [:

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VERT ACTS

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Title 21 U.S.C. §
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spiracy, and to effect and accomplish the
»fendant and/or his co-conspirators did

ted the following overt acts, among

of Pennsylvania, and elsewhere:

r his co-conspirators purchased bulk
ha-pyrolidinopentiophenone (a-pvp), a

| substance analogue within the meaning
02(32).

r his coconspirators repackaged the
analogue into smaller packages for the

2 substance.

r his co-conspirators received money and

leration in exchange for the controlled

ited States Code, Section 371.

Maw | Siutth fav

‘PETER J/SMITH
UNITED STATES ATTORNEY

